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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 IN RE EQUIFAX INC. CUSTOMER                        MDL DOCKET NO. 2800
 DATA SECURITY BREACH                               1:17-md-2800-TWT
 LITIGATION
                                                    ALL ACTIONS


                                           and


 IN RE EQUIFAX INC. SECURITIES                      CONSOLIDATED CASE NO.
 LITIGATION                                         1:17-cv-03463-TWT



                    COORDINATED DISCOVERY ORDER

      To maximize efficiency and reduce the burdens of discovery on the parties,

third parties, and the Court, discovery in the matters pending before the Court as In

re Equifax Inc. Customer Data Security Breach Litigation, Case No. 1:17-md-2800

TWT (the “MDL”) and In re Equifax Inc. Securities Litigation, Case No. 1:17-cv-

03463-TWT (the “Securities Litigation”) (together, the “Actions”) shall be

coordinated per the terms of this Order.

      1.     This Order applies to all cases in the MDL (as defined in MDL ECF

No. 87), as well as to the Securities Litigation.




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      2.     Except as modified herein, the discovery protocols in the MDL and the

Securities Litigation shall remain in effect and will continue to govern discovery in

the respective cases. The provisions of this Order do not govern expert depositions,

which are not required to be coordinated between the Actions and shall remain

subject to the Parties’ respective discovery protocols.

      3.     As used in this Order, the term “Party” refers to any one of the

following: Equifax Inc. and any affiliates or subsidiaries of Equifax Inc. named as a

defendant in the MDL or the Securities Litigation (collectively, “Equifax”), any

current or former employees of Equifax named as a defendant in the MDL or the

Securities Litigation, the Plaintiffs in the financial institution track of the MDL

through designated Lead Counsel, and the Lead Plaintiff in the Securities Litigation

through designated Lead Counsel (collectively, the “Parties”). No other participant

in the MDL or Securities Litigation shall have the right to notice a deposition without

leave of Court.

      4.     The Parties shall cooperate with each other and with counsel for the

witnesses, to the extent practicable, to coordinate all scheduling, noticing, and taking

of depositions. No Party shall unilaterally schedule and notice a deposition without

first consulting in good faith with the other Parties and counsel for the witness, as

applicable. Parties shall have three (3) business days to respond to a request from


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any other Party to consult on the scheduling and notice of a deposition, including

concerning an appropriate allocation of time for questioning between the noticing

and cross-noticing parties.

      5.     To ensure that all Parties have an opportunity to question witnesses for

the Actions, depositions shall be noticed pursuant to the Federal Rules of Civil

Procedure and such notices shall be served electronically on counsel of record for

all Parties in the Actions at least fourteen (14) days in advance of the scheduled

deposition, unless otherwise agreed by the Parties. Such notices shall be served only

after the Parties have conferred as required by Paragraph 4 above.

      6.     Counsel for Equifax is directed to create a list-serve that will contain

email addresses for counsel of record for all Parties in the Actions, which shall be

used for serving deposition notices in the Actions.

      7.     Any subpoenas for deposition testimony shall be served on witnesses

as required by law, but copies may be served electronically on counsel of record for

all Parties in the Actions.

      8.     If a deposition notice is initially served in only one of the Actions, any

Party seeking to question the applicable witness for the other Action shall cross-

notice the deposition and serve such cross-notice on counsel of record for all Parties




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in the Actions as soon as reasonably practicable, but in no event less than seven (7)

days before the scheduled deposition.

      9.       Only counsel for Parties that have noticed or cross-noticed a deposition

are entitled to question deponents; provided, however, that any Party defending a

deposition also may question the witness in response to questioning by other Parties,

and Equifax may question its current or former employees in response to questioning

by other Parties, without needing to serve a notice or cross-notice for such

depositions.

      10.      The Parties, and if necessary, counsel for the deponent, will cooperate

in good faith in an effort to allocate time for questioning among counsel for each

Party serving a notice or cross-notice for a deposition. Except for those depositions

covered by Paragraph 13, the time limit for each deposition in the Actions will be

nine (9) hours of on-record time unless otherwise agreed or allowed by the Court.

The noticing and cross-noticing Parties shall cooperate in good faith in an effort to

allocate time for questioning within this nine (9) hour limit. Unless otherwise agreed

by the noticing and cross-noting Parties, the Party noticing the deposition shall be

entitled to five (5) hours of the allotted deposition time and the cross-noticing Party

(or cross-noticing Parties combined if there are more than one) to four (4) hours of




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allotted deposition time. Notwithstanding the foregoing, the Parties shall engage in

best efforts to complete all deposition testimony as efficiently as possible.

      11.    Except as provided in Paragraph 13, no witness shall be deposed more

than once in the Actions without leave of Court or agreement among counsel for all

Parties in the Actions and counsel for the applicable witness. Provided, however,

that this limitation does not apply to Rule 30(b)(6) depositions, which may occur on

multiple occasions but are limited by the total hour restrictions set forth in the Case

Management Orders governing discovery in the MDL (ECF No. 261) and the

Securities Litigation.

      12.    Depositions taken in either of the Actions will count towards the

deposition limits in both Actions for any Party that (i) noticed the deposition, (ii)

cross-noticed the deposition, or (iii) questioned the witness; provided, however, that

any Party defending a deposition may question the witness in response to other

Parties’ questioning for up to one (1) hour without that deposition counting towards

the defending Party’s deposition limit, and subject to the provisions of paragraph 9

above, Equifax also may question witnesses in response to other parties’ questioning

for up to one (1) hour without that deposition counting towards Equifax’s deposition

limit. Any questioning by the defending party or Equifax pursuant to this paragraph




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will not count towards the 9-hour time limit provided for by paragraph 10 above, or

other agreed-upon or Court-ordered time limit for a deposition.

      13.     Notwithstanding any other provision of this Order, and in order to

preserve the Parties’ ability to address distinctions among the Actions, Lead Counsel

for Plaintiffs in the MDL and the Securities Litigation may each identify up to ten

(10) deponents to be deposed in each of the Actions at different times (i.e., to be

separately noticed by Plaintiffs in the MDL or the Securities Litigation). Such

deponents’ depositions will not be subject to the cross-notice procedures set forth

above in paragraph 8. Each of the depositions taken pursuant to this paragraph will

be governed by Federal Rule of Civil Procedure 30(d)(1) unless otherwise agreed

among counsel for those Parties that are participating in each of the depositions and

counsel for the applicable witness.

      14.     Each witness may be questioned by no more than one counsel from

each Party, with the exception of depositions taken pursuant to Rule 30(b)(6) or

depositions that take place over multiple days. With respect to Rule 30(b)(6)

depositions, each designee may be questioned by no more than two counsel from

each Party.

      15.     Any objection to the form of a question shall be deemed to have been

made on behalf of all other Parties (and non-parties for non-party depositions), and


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need not be repeated by another counsel to preserve that objection on behalf of such

other counsel.

         16.   All objections except as to the form of the question or foundation are

reserved until trial or other use of the deposition transcript.

         17.   Witnesses shall be deposed where they reside unless counsel for all

Parties intending to participate in the deposition and counsel for the applicable

witness agree otherwise.

         18.   To more efficiently handle the litigation and to reduce travel costs, the

Parties shall cooperate to the extent practical to schedule and complete depositions

so as to avoid repetitive trips to the same location.

         19.   The final transcripts for all depositions noticed by any Party shall be

made available to every other Party within five (5) days after the completion of the

final transcript. If designated as Confidential, such transcripts will be subject to the

confidentiality provisions in each of the Actions. Any deposition taken pursuant to

this Order may be used in either of the Actions.

         20.   The Parties shall meet and confer in an effort to resolve any discovery

dispute relating to the provisions of this Order prior to raising such dispute with the

Court.




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      21.    This Order does not limit any Party’s right to object to or seek a

protective order with respect to any deposition noticed in either of the Actions.

      22.    Any Party may move the Court to modify this order upon good cause

shown.


                 SO ORDERED, this 30th day of August, 2019.


                                                  /s/ Thomas W. Thrash
                                                  Thomas W. Thrash
                                                  United States District Judge




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August 29, 2019                  Respectfully submitted,


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                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was filed with this Court via its

CM/ECF service, which will send notification of such filing to all counsel of record

in the Actions this 29th day of August 2019.


                                                        /s/ Michael R. Smith
                                                            Michael R. Smith




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